          Case 1:14-cv-02811-JMF Document 412 Filed 04/24/20 Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
CITY OF PROVIDENCE, RHODE ISLAND,                                      :
                                                                       :
                                    Plaintiff,                         :    14-CV-2811 (JMF)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
BATS GLOBAL MARKETS, INC.,                                             :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        In light of the parties’ status letter, the conference previously scheduled for April 28,

2020, is ADJOURNED to May 1, 2020, at 2 p.m. and will be held by telephone. To access the

conference, counsel should call 888-363-4749 and use access code 5421540#. (Members of the

press and public may call the same number, but will not be permitted to speak during the

conference.) In accordance with the Court’s Emergency Individual Rules and Practices in Light

of COVID-19, available at https://www.nysd.uscourts.gov/hon-jesse-m-furman, counsel should

adhere to the following rules and guidelines during the hearing:

    x   Absent permission of the Court, no more than two attorneys per party may speak during
        the teleconference. Each party should designate a single lawyer to speak on its behalf
        (including when noting the appearances of other counsel on the telephone).

    x   Counsel should use a landline whenever possible, should use a headset instead of a
        speakerphone, and must mute themselves whenever they are not speaking to eliminate
        background noise. In addition, counsel should not use voice-activated systems that do
        not allow the user to know when someone else is trying to speak at the same time.

    x   To facilitate an orderly teleconference and the creation of an accurate transcript, counsel
        are required to identify themselves every time they speak. Counsel should spell any
        proper names for the court reporter. Counsel should also take special care not to interrupt
        or speak over one another.
Case 1:14-cv-02811-JMF Document 412 Filed 04/24/20 Page 2 of 2
